

People v Seignious (2024 NY Slip Op 01894)





People v Seignious


2024 NY Slip Op 01894


Decided on April 09, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 09, 2024

Before: Manzanet-Daniels, J.P., Kapnick, Moulton, Scarpulla, JJ. 


Ind. No. 4609/16 Appeal No. 14614 Case No. 2019-03581 

[*1]The People of the State of New York, Respondent,
vJayquaine Seignious, Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (John Vang of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Franklin R. Guenthner of counsel), for respondent.



Upon remittitur from the Court of Appeals ( NY3d , 2024 NY Slip Op 00927 [2024]), judgment, Supreme Court, New York County (Ann E. Scherzer, J.), rendered April 30, 2019, convicting defendant, after a jury trial, of burglary in the second degree, sexual abuse in the first degree, forcible touching (two counts) and sexual abuse in the third degree (two counts), and sentencing him, as a second felony offender, to an aggregate term of 13 years, unanimously affirmed.
Defendant's excessive sentence claim pertaining to his reinstated conviction of burglary in the second degree is unavailing. Accordingly, we find no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 9, 2024








